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                   IN THE UNITED STATES DISTRICT COURT
                                 FOR THE
                      NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 HESTOR MENDEZ AND GILBERT
 MENDEZ, for themselves and on
 behalf of their minor children, PETER
 MENDEZ AND JACK MENDEZ,
                                                   No. 18-cv-5560
                         Plaintiffs,               Judge Franklin U. Valderrama
              v.

 THE CITY OF CHICAGO, et al,

                       Defendants.

                                          ORDER

       This civil rights lawsuit stems from Chicago Police Department (CPD) Officers’

procurement and execution of a search warrant in 2017 at the apartment of Hestor

Mendez and Gilbert Mendez (together, the Mendezes). The CPD had received

incorrect information from a confidential informant, and the target of the warrant

lived in a different apartment than the Mendezes. The Mendezes, individually and

on behalf of their minor children Peter and Jack (collective, Plaintiffs), sued the City

of Chicago, several CPD Officers who executed the search warrant, and the

supervisors who approved the warrant (collectively, Defendants), under 42 U.S.C

§ 1983. R. 125, Fourth Am. Compl. 1 Defendants moved for summary judgment, R.




1Citations to the docket are indicated by “R.” followed by the docket number or filing name,

and, where necessary, a page or paragraph citation.




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435, 2 and Plaintiffs cross-moved for partial summary judgment, R. 455. Before the

Court is Plaintiffs’ motion for leave to supplement the summary judgment record. R.

561, Pls.’ Mot. Suppl. Defendants oppose the motion for leave to supplement, and also

move for leave to supplement their motion to bar Plaintiffs’ experts, R. 562, Defs.’

Resp. For the reasons that follow, Plaintiffs’ motion for leave to supplement the

summary judgment record and Defendants’ motion for leave to supplement their

motion to bar Plaintiffs’ experts are both denied.

                                     Background

      On November 7, 2017, Plaintiffs lived on the second floor of a multi-unit

apartment building in the City of Chicago. Defendant Joseph Capello (Capello), a

CPD Officer, received a tip from a confidential informant that two suspects were

dealing drugs from Plaintiffs’ building. The informant, however, erroneously told

Capello that the suspects lived on the second floor of the apartment building, when

in fact they lived on the third floor. Capello subsequently obtained a search warrant

for the second-floor apartment. On the evening of November 7, the Mendezes, along

with their minor children, were at home. Outside of the apartment building,

Defendant CPD Officers prepared to execute the warrant. While outside, someone

from Plaintiffs’ apartment looked out the window. Fearing that their cover was blown,

Defendant Officers ran into the building and, without knocking, broke open the door

to Plaintiffs’ apartment. Defendant Officers yelled out profanity-laced instructions to



2Pursuant to the previously assigned Judge’s order, R. 533, Defendants’ summary judgment

motion and Plaintiff’s cross-motion for partial summary judgment were re-filed on October
7, 2022, R. 542, R. 544.



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Plaintiff Gilbert Mendez and handcuffed him while they searched the apartment. His

children watched the events. Defendants eventually realized they searched the wrong

apartment and left.

       Plaintiffs subsequently sued Defendant Officers and the City of Chicago under

42 U.S.C. § 1983 and several state laws, alleging that Defendants violated their

constitutional rights while executing the search warrant at their apartment. On

October 26, 2021, Defendants moved for summary judgment. R. 435. On December

30, 2021 Plaintiffs moved for partial summary judgment. R. 455. The motions for

summary judgment were fully briefed as of May 13, 2022. R. 520. During this

litigation, the City’s Civilian Office of Police Accountability (COPA) continued to

conduct its investigation into the underlying incident.

       In January 2022, COPA completed its investigation into the incident. Defs.’

Resp. at 4. On May 13, 2022, Plaintiffs sought leave to supplement their Local Rule

56.1(b) statement of fact with one additional fact, as well as to file a five-page sur-

response 3 to Defendants’ reply in support of Defendants’ motion for summary

judgment, all related to COPA’s findings. R. 517. On May 20, 2022, Judge Lee 4

granted the motion, declared briefing on the cross-motions complete, and took the

motions under advisement. R. 522. The parties agreed amongst themselves to limited


3Plaintiffs’ request was to file a sur-reply to Defendants’ reply; however, the Court construes

it to be a request to file a “sur-response.” See Black’s Law Dictionary (10th ed. 2014) (a
surresponse is the “second response by someone who opposes a motion” and generally “comes
in answer to the movant’s reply.”).

4Judge Lee was subsequently confirmed to the Seventh Circuit and the case was reassigned

to Judge Seeger. R. 534. On January 23, 2023, the case was reassigned from Judge Seeger to
this Court. R. 552.



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additional discovery, and subsequently filed a motion to reopen discovery before the

Court, in order for Plaintiffs to depose two COPA investigators, Kelsey Fitzpatrick

(Fitzpatrick) and Matthew Haynem (Haynem), which Judge Seeger granted. R. 545,

550. Plaintiffs provided the COPA materials, including the deposition transcripts of

the two COPA investigators, to their police practices expert, Jack Ryan (Ryan). On

April 20, 2023, Plaintiffs disclosed Ryan’s supplemental report and offered to make

Ryan available for a deposition, which invitation Defendants declined. Pls.’ Mot.

Suppl. at 1. On May 22, 2023, Plaintiffs filed a motion for leave to supplement the

summary judgment record. Id. On June 5, 2023, Defendants responded to Plaintiffs’

motion and cross-moved for leave to supplement their motion to bar Plaintiffs’

experts. Defs.’ Resp. These fully briefed motions are before the Court.

                                        Analysis

       Plaintiffs point out that it was not until the middle of briefing on Defendants’

motion for summary judgment, as well as their own partial cross-motion for summary

judgment, that they learned that COPA had completed its investigation and that

Plaintiffs received the report. Pls.’ Mot. Suppl. at 2; R. 565, Pls.’ Reply at 2. According

to Plaintiffs, they then informed Defendants that not only would they give the

evidentiary material to their police practices expert, Ryan, but they would also seek

to depose the two COPA investigators. Pls.’ Reply at 2. Plaintiffs maintain that Ryan’s

supplemental opinions, as well as Fitzpatrick and Haynem’s testimony, are relevant

to the pending cross-motions for summary judgement. Pls.’ Mot. Suppl. at 2. The way

Plaintiffs see it, a central disputed issue of fact in this case is whether Defendant




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Officers Egan and Capello pointed their firearms at the Mendez family, and in

particular, whether they pointed their weapons at Peter and Jack. Id. at 2–3.

Defendants, according to Plaintiffs, in their summary judgment briefing, have cited

the COPA investigators’ findings as evidence that none of the Defendant Officers,

including Egan and Cappello, pointed their guns at any Plaintiff. Id. at 3. Defendants

further argue, submit Plaintiffs, that Defendant Officers Egan and Capello did not

have any opportunity to point their firearms at Plaintiffs. Id. Plaintiffs maintain that

Fitzpatrick and Haynem’s testimony and Ryan’s review of and opinions concerning

their investigation and conclusions is evidence that directly contradicts Defendants’

facts. Id.

       Defendants oppose the motion on several grounds. Specifically, they argue that

(1) the motion is underdeveloped; (2) the motion is untimely; and (3) the supplemental

materials are inadmissible. Defs.’ Resp. at 2.

       Starting with Defendants’ second argument, the Court finds unpersuasive

Defendants’ contention that Plaintiffs’ motion is untimely, as it is undisputed that

the COPA report did not became available until after the parties’ summary judgment

motions were filed. Not only that, but the parties engaged in discovery regarding the

report, including the depositions of the COPA investigators, without objection.

       Turning to Defendants’ argument that Plaintiffs’ motion is underdeveloped,

the Court finds, contrary to Defendants’ contention, that Plaintiffs’ motion clearly

reflects how Plaintiffs seek to supplement their response to Defendants’ summary

judgment motion. The Court agrees with Defendants, however, as it pertains to




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Plaintiffs’ request to supplement their own cross-motion. Plaintiffs point out that

Ryan’s supplemental opinions are that COPA’s investigation was deficient and

inconsistent with industry standards for internal affairs investigations. Pls.’ Mot.

Suppl. at 3. And Plaintiffs also posit generally that his opinions support their own

cross-motion for summary judgment. See id. at 2 (“Mr. Ryan’s supplemental opinions,

as well as Fitzpatrick and Haynem’s testimony on which these opinions are based,

are relevant to the pending cross motions for summary judgment.”). However,

nowhere in their motion for leave to supplement do Plaintiffs argue how these

opinions would bolster their own cross-motion for partial summary judgment. 5 And

in reply, Plaintiffs seem to clarify that they seek to add a page of argument not in

support of their own cross-motion, but rather “in support of their response

memorandum in opposition to defendants’ motion for summary judgement” and detail

what that page would argue as it relates to Defendants’ motion. Pls.’ Reply at 5.

Accordingly, Plaintiffs have not convinced the Court to exercise its discretion to allow

Plaintiffs to supplement their own cross-motion for partial summary judgment (or

the statement of facts in support).

       Finally, Defendants argue that the supplemental materials are inadmissible

for several reasons, including that Ryan’s supplemental opinions do not directly


5True, the Court can surmise how Ryan’s supplemental opinions regarding the deficiencies

in COPA’s investigation are relevant to Plaintiffs’ cross-motion as it relates to the policy
failures of the City’s Police Accountability System, see, e.g., R. 456, Pls.’ MSJ Resp./Cx-Mot.
at 23–24, but the Court will not make this argument for Plaintiffs, see Vertex refining, NV,
LLC v. Nat’l Union Fire Ins. Co. of Pittsburgh, 374 F. Supp. 3d 754, 765 (N.D. Ill. 2019) (“It
is not the role of this court to research and construct the legal arguments open to parties,
especially when they are represented by counsel.”) (citing Doherty v. City of Chicago, 75 F.3d
318, 324 (7th Cir. 1996), amended (Mar. 28, 1996)).



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dispute any of Defendants’ statements of material fact. Defs.’ Resp. at 10. The Court

agrees with Defendants that the requested supplemental briefing and statement of

fact is not necessary. As stated above, the basis for the Plaintiffs’ motion, is that from

the Plaintiffs’ perspective, the Defendants have cited the “COPA investigators’

findings as evidence that no defendant, including Egan and Capello pointed his gun

at any plaintiff.” Pls.’ Mot. Suppl. at 3. Also relevant, submit Plaintiffs, is “defendants’

argument that Egan and Cappello did not have any opportunity to point their

firearms at plaintiffs.” Id. The Court disagrees. As correctly argued by Defendants,

nowhere in their motion for summary judgment or the Rule 56.1 statements of fact

or responses, for that matter, do Defendants argue for the admission of the COPA

findings. Defs.’ Resp. at 11. Indeed, as Defendants point out, in response to Plaintiffs’

statement of material fact no. 141, which cites to COPA’s findings (and which

Plaintiffs cite in their motion to supplement), Defendants object to the admissibility

of the COPA report. Id. (citing R. 525 at 2). And in Defendants’ summary judgment

reply/cross-response Defendants denied that COPA’s investigation had “bearing on

their summary judgment arguments.” R. 490, Defs.’ MSJ Resp./Cx-Reply at 26 n.4.

       To be clear, Plaintiffs are correct that the parties disagree about some of the

central facts in this case. But the admissibility of the COPA report and the

investigators’ conclusions is not an issue raised by the Defendants in their motion for

summary judgment. The Court also agrees with Defendants that it is unclear how

the fact that COPA investigated the incident, including the Defendant Officers’




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actions, supports Defendants’ motion for summary judgment. Accordingly, the Court

denies Plaintiffs’ motion for leave to supplement the summary judgment record.

      Because the Court is not considering Ryan’s supplemental opinions at this

stage, the Court also denies without prejudice Defendants’ motion to bar Ryan’s

supplemental opinions under Daubert. Defs.’ Resp. at 12. Defendants are free to raise

those arguments in a motion in limine if this case proceeds to trial (to the extent the

arguments advanced are not duplicative of any arguments that the Court may reject

in Defendants’ pending motion to bar Plaintiffs’ experts).

                                 Conclusion

      For the foregoing reasons, Plaintiffs’ motion for leave to supplement the

summary judgment record [561] and Defendants’ motion for leave to supplement

their motion to bar Plaintiffs’ experts [562] are denied.



Date: May 9, 2024
                                               United States District Judge
                                               Franklin U. Valderrama




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